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Desc
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Attomey or Party Name, Address, Telephone & FAX Nos., State Bar No. &
Email Address

MARCEREAU & NAZIF

Robert H. Marcereau (SBN 211534)
Sy Nazif (SBN 228949)

26000 Towne Centre Drive, Suite 230
Foothill Ranch, CA 92610

Tel: (949) 531-6500

Fax: (949) 531-6501

individual appearing without attomey
* Attorney for Kelli Peters, Bill Peters and Sydnie Peters

FOR COURT USE ONLY

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

In re:
Kent W. Easter, dba Kent Easter Consulting, dba Law
Offices of Kent VW. Easter

Debtor(s).
Kelli Peters, Bill Peters and Sydnie Peters,

Plaintiff(s),
vs.

Keni W. Easter, dba Kent Easter Consulting, dba Law
Offices of Kent W. Easter,

Defendant.

CASE NO.: 8:16-bk-10223-ES
CHAPTER: 7
ADVERSARY NO.: 8:16-ap-01114-ES

NOTICE OF LODGMENT OF ORDER OR
JUDGMENT IN ADVERSARY PROCEEDING
RE: (title of motion’):
[PROPOSED] ORDER RE:
STIPULATION TO DISMISS

PLEASE TAKE NOTE that the order or judgment titled

[PROPOSED] ORDER RE: STIPULATION TO DISMISS

was lodged on (date)__ 11/15/17

' Please abbreviate if title cannot fit into text field.

and is attached. This order relates to the motion which is docket number 49 __.

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2072

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F 9021-1.2.ADV.NOTICE.LODGMENT
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MARCEREAU & NAZIF

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ATTORNEYS FOR CREDITORS and PLAINTIFFS
Kelli Peters, Bill Peters and Sydnie Peters

UNITED STATED BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA — SANTA ANA DIVISION

In re: Case No. 8:16-bk-10223-ES

Adversary Case No.: 8:16-ap-01114-ES
Kent W. Easter, dba Kent Easter
Consulting, dba Law Offices of Kent W.

Easter [PROPOSED] ORDER RE:
STIPULUA TION TO DISMISS

Kelli Peters, Bill Peters and Sydnie Peters,

Plaintiffs,

Vs.
Kent W. Easter, dba Kent Easter
Consulting, dba Law Offices of Kent W.
Easter,

Defendants.

if

if

if

1
[PROPOSED] ORDER RE: STIPULATION TO DISMISS

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[PROPOSED] ORDER

Pursuant to the parties’ stipulation lodged with this court on August 22, 2017,
the parties have reached a settlement.

Pursuant to the Parties’ Settlement Agreement and Mutual Release dated
August 8, 2017, and Federal Rule of Civil Procedure 41(a)()(A)(ii) made
applicable to this adversary proceeding by Federal Rule of Bankruptcy
Procedure 7041, Plaintiff’s Complaint is dismissed without prejudice.

Each party shall bear its own fees and costs.

By the Court,

Erithe A. Smith
United States Bankruptcy Judge

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[PROPOSED] ORDER RE: STIPULATION TO DISMISS

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER OR JUDGMENT IN
ADVERSARY PROCEEDING will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1, TOBE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF) Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink fo the document. On (date)
11/15/17, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Robert P. Goe: kmurphy@goeforlaw.com, rgoe@goeforlaw.com; goeforecf@gmail.com

Trustee, Weneta M. Kosmala: ecf.alerttKosmala@titlexi.com; wkosmala@txitrustee.com; dmf@txitrustee.com:
kgeorge@kosmailalaw.com

United States Trustee: usipregion16.sa.ecf@usdoj.gov

LK Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) 11/15/17, | served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof ina sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Debtor/Defendant: Attorney for Debtor/Defendant: Trustee:

Kent W. Easter Robert P. Goe Weneta M Kosmaia

153 Baywood Dr. Goe & Forsythe, LLP 3 MacArthur Place, Suite 760
Newport Beach, CA 92660 18101 Von Karman, Ste 1200 Santa Ana, CA 92707

Irvine, CA 92612
Judge: Hon. Erithe A. Smith
U.S. Bankruptcy Court Central District
411 W. Fourth St, Suite 5040 / Cirm 5A
Santa Ana, CA 92701-4593

C] Service information continued on attached page

{ AIL. (state method
tor each person or ronitity served) Dannent to F. R. Civ. P.5 andlor controlling LE LBR. on (date) _ | served

the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

[_] Service information continued on attached page

| declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

44/15/17 Sarah Crouse /s/ Sarah Crouse
Date Printed Name Signature

This form is mandatery. it has been approved for use by the United States Bankruptcy Court for the Central District of California,

December 2012 Page 2 F 9021-1.2.ADV.NOTICE.LODGMENT
